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  UNITED STATES DEPARTMENT OF JUSTICE
  OFFICE OF THE UNITED STATES TRUSTEE
  HENRY G. HOBBS, JR.
  ACTING UNITED STATES TRUSTEE
  SHANE P. TOBIN
  TRIAL ATTORNEY
  903 SAN JACINTO BLVD, ROOM 230
  AUSTIN, TX 78701
  Telephone: (512) 916-5328
  Facsimile: (512) 916-5331


                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

  IN RE:                                             §
                                                     §
  KRISJENN RANCH, LLC                                §       CASE NO. 20-50805-RBK
                                                     §       CHAPTER 11
  DEBTOR IN POSSESSION                               §

                     REPORT OF THE UNITED STATES TRUSTEE OF
                   INABILITY TO APPOINT A CREDITORS’ COMMITTEE

         COMES NOW Henry G Hobbs, Jr., the United States Trustee for Region 7 ("UST"), who,

  by and through the undersigned attorney respectfully reports as follows:

         1.      The voluntary petition in this case under chapter 11 of the Bankruptcy Code (11 U.S.C.

  § 1101, et seq.) was filed on 4/27/2020.

         2.      The United States Trustee is responsible for appointing a committee of creditors

  holding unsecured claims (Creditors’ Committee) pursuant to 11 U.S.C. § 1102(a)(1).

         3.      The United States Trustee has attempted to solicit creditors interested in serving on

  the Unsecured Creditors’ Committee from the 20 largest unsecured creditors. After excluding

  governmental units, secured creditors and insiders, the United States Trustee has been unable to solicit

  sufficient interest in serving on the Committee, in order to appoint a proper Committee.
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         THEREFORE, the United States Trustee has been unable to appoint an Unsecured Creditors’

  Committee as contemplated by 11 U.S.C. § 1102.

                                               Respectfully submitted,

                                               HENRY G. HOBBS, JR.
                                               ACTING UNITED STATES TRUSTEE
                                               REGION 7



                                               By: /s/ Shane P. Tobin
                                                       Shane P. Tobin
                                                       Trial Attorney
                                                       CA State Bar No. 317282
                                                       903 San Jacinto Blvd, Room 230
                                                       Austin, TX 78701
                                                       (512) 916-5328
                                                       (512) 916-5331 Fax
                                                       Shane.P.Tobin@usdoj.gov


                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above United States Trustee’s Report
  of Inability to Appoint a Creditors’ Committee was served via First Class Mail on the parties
  listed on the attached mailing matrix, on this the 8th day of June, 2020.


                                               /s/ Shane P. Tobin
                                               Shane P. Tobin
                                               Trial Attorney
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Label Matrix for local noticing                KrisJenn Ranch, LLC                     United States Trustee (SMG511)
0542-5                                         410 Spyglass Rd                         U.S. Trustee’s Office
Case 20-50805-rbk                              McQueeney, TX 78123-3418                615 E. Houston, Suite 533
Western District of Texas                                                              P.O. Box 1539
San Antonio                                                                            San Antonio, TX 78295-1539
Mon Jun 8 13:45:05 CDT 2020
U.S. BANKRUPTCY COURT                          Albert, Neely & Kuhlmann, LLP           Angelina County
615 E. HOUSTON STREET, ROOM 597                1600 Oil & Gas Building                 c/o John P. Dillman
SAN ANTONIO, TX 78205-2055                     309 W 7th St                            Linebarger Goggan Blair & Sampson LLP
                                               Fort Worth, TX 76102-5113               P.O. Box 3064
                                                                                       Houston, Tx 77253-3064

Angelina County Tax Assessor                   Bigfoot Energy Services, LLC            C&W Fuels, Inc.
606 E Lufkin Ave                               312 W Sabine St                         Po Box 40
Lufkin, TX 75901-0434                          Carthage, TX 75633-2519                 Hondo, TX 78861-0040



CLEVELAND                                      DMA Properties, Inc.                    DUKE, BANISTER, RICHMOND, PLLC
TERRAZAS PLLC                                  c/o Michael J. Black                    Jeffrey Duke
Timothy Cleveland                              BURNS & BLACK, PLLC                     P.O. Box 175
4611 Bee Cave Road, Suite 306 B                750 Rittiman Road                       Fulshear, TX 77441-0175
Austin, TX 78746-5284                          San Antonio, TX 78209-5500

Davis, Cedillo & Mendoza, Inc.                 Granstaff Gaedke & Edgmon PC            Guadalupe County
755 E Mulberry Ave Ste 500                     5535 Fredericksburg Rd Ste 110          c/o Tara LeDay
San Antonio, TX 78212-3135                     San Antonio, TX 78229-3553              P.O. Box 1269
                                                                                       Round Rock, TX 78680-1269


Hopper’s Soft Water Service                    Internal Revenue Service                JOHNS &COUNSEL PLLC
120 W Frio St                                  Po Box 7346                             Christopher S. Johns
Uvalde, TX 78801-3699                          Philadelphia, PA 19101-7346             14101 Highway 290 West, Suite 400A
                                                                                       Austin, TX 78737-9376


KRISJENN RANCH, LLC, KRISJENN RANCH, LLC, Se   Larry Wright                            Longbranch Energy
410 Spyglass Rd                                410 Spyglass Rd                         c/o DUKE BANISTER RICHMOND
Mc Queeney, TX 78123-3418                      Mc Queeney, TX 78123-3418               Po Box 175
                                                                                       Fulshear, TX 77441-0175


Longbranch Energy, LP                          METTAUER LAW FIRM, PLLC                 McLeod Oil, LLC
DMA Properties, Inc.                           c/o April Prince                        c/o John W. McLeod, Jr.
c/o Mr. Michael J. Black                       403 Nacogdoches St Ste 1                700 N Wildwood Dr
Burns & Black, PLLC                            Center, TX 75935-3810                   Irving, TX 75061-8832
750 Rittiman Road
San Antonio, Texas 78209-5500
McLeod Oil, LLC                                Medina Electric                         Medina’s Pest Control
c/o Laura L. Worsham                           2308 18th St.                           1490 S Homestead Rd
Jones Allen & Fuquay, LLP                      Po Box 370                              Uvalde, TX 78801-7625
8828 Greenville Avenue                         Hondo, TX 78861-0370
Dallas, Texas 75243-7143

Nacogdoches County Tax Assessor                Nacogdoches County, et al.              Rusk County Appraisal District
101 W Main St Ste 100                          c/o Tab Beall                           107 N Van Buren St
Nacogdoches, TX 75961-4820                     Perdue Brandon Fielder Collins & Mott   Henderson, TX 75652-3113
                                               PO Box 2007
                                               Tyler, TX 75710-2007
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Shelby County                                        Shelby County Tax Collector                          Tenaha ISD Tax Assessor-Collector
c/o John P. Dillman                                  200 St. Augustine St.                                138 College St
Linebarger Goggan Blair & Sampson LLP                Center, TX 75935-3959                                Tenaha, TX 75974-5612
P.O. Box 3064
Houston, Tx 77253-3064

(p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS              Texas Farm Store                                     United States Trustee - SA12
REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION          236 E Nopal St                                       US Trustee’s Office
PO BOX 13528                                         Uvalde, TX 78801-5391                                615 E Houston, Suite 533
AUSTIN TX 78711-3528                                                                                      PO Box 1539
                                                                                                          San Antonio, TX 78295-1539

Uvalco Supply                                        Uvalde County Tax Assessor                           Uvalde County Tax Office
2521 E Main St                                       Courthouse Plaza, Box 8                              209 N High St.
Uvalde, TX 78801-4940                                Uvalde, TX 78801-5239                                Uvalde, TX 78801-5207



Uvalde County Tax Office                             Ronald J. Smeberg
c/o Carlos M. Arce                                   The Smeberg Law Firm, PLLC
Perdue, Brandon, Fielder, Collins & Mott             2010 W Kings Hwy
613 NW Loop 410, Ste. 550                            San Antonio, TX 78201-4926
San Antonio, TX 78216-5593



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Texas Comptroller of Public Accounts                 End of Label Matrix
Capitol Station                                      Mailable recipients     40
Po Box 13528                                         Bypassed recipients      0
Austin, TX 78711-3528                                Total                   40
